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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. CR04-549-JLR
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   CUNG LONG NGUYEN,                    )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Import Marijuana; Conspiracy to Distribute Marijuana;

15 Conspiracy to Engage in Money Laundering; Money Laundering–Concealment of Real Property;

16 Money Laundering–Concealment and Promotion Real Property; Engaging in Monetary

17 Transactions with Proceeds of Unlawful Activity

18 Date of Detention Hearing:     March 28, 2008

19          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

20 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

21 that no condition or combination of conditions which defendant can meet will reasonably assure

22 the appearance of defendant as required and the safety of other persons and the community.

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

02          1.      Defendant was arrested initially in the Central District of California pursuant to

03 an arrest warrant originating out of this District. Defendant was not interviewed by Pretrial

04 Services in this District. His background information remains unverified.

05          2.      Defendant poses a risk of nonappearance based on the nature and circumstances

06 of the instant charges, involving money laundering activity, his status as remaining at large since

07 the warrant was issued in 2004; unverified background information, unstable residential situation,

08 and a history of foreign travel. He poses a risk of danger due to the nature of the instant offense.

09          3.      Defendant does not contest detention.

10          4.      There does not appear to be any condition or combination of conditions that will

11 reasonably assure the defendant’s appearance at future Court hearings while addressing the danger

12 to other persons or the community.

13 It is therefore ORDERED:

14          (1)     Defendant shall be detained pending trial and committed to the custody of the

15                  Attorney General for confinement in a correction facility separate, to the extent

16                  practicable, from persons awaiting or serving sentences or being held in custody

17                  pending appeal;

18          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

19                  counsel;

20          (3)     On order of a court of the United States or on request of an attorney for the

21                  Government, the person in charge of the corrections facility in which defendant is

22                  confined shall deliver the defendant to a United States Marshal for the purpose of

     DETENTION ORDER                                                                           15.13
     18 U.S.C. § 3142(i)                                                                    Rev. 1/91
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01               an appearance in connection with a court proceeding; and

02         (4)   The clerk shall direct copies of this Order to counsel for the United States, to

03               counsel for the defendant, to the United States Marshal, and to the United States

04               Pretrial Services Officer.

05         DATED this 28th day of March, 2008.



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07                                             Mary Alice Theiler
                                               United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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